            Case 1:15-bk-11016              Doc 65 Filed 05/24/19 Entered 05/25/19 00:31:15                               Desc
                                          Imaged Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                 District of Rhode Island
In re:                                                                                                     Case No. 15-11016-DF
William B. Dicksen                                                                                         Chapter 7
Dolores V. Dicksen
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0103-1                  User: carolsy                      Page 1 of 1                          Date Rcvd: May 22, 2019
                                      Form ID: pdfdoc                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 24, 2019.
db/jdb        #+William B. Dicksen,   Dolores V. Dicksen,   3191 Kernan Lake Circle #306,
                 Jacksonville, FL 32246-3339
intp            State of RI - Division of Taxation,   RI Division of Taxation,   Bankruptcy Unit,
                 One Capitol Hill,   Providence, RI 02908-5800

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
acc            +E-mail/Text: ebn@vlpc.com May 22 2019 18:21:32      Craig R. Jalbert,  Verdolino & Lowey, P.C.,
                 124 Washington Street,   Foxborough, MA 02035-1368
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 24, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 22, 2019 at the address(es) listed below:
              Charles A. Pisaturo, Jr.   on behalf of Trustee Charles A. Pisaturo, Jr. Charlie@pisaturolaw.com,
               Jenn@pisaturolaw.necoxmail.com
              Charles A. Pisaturo, Jr.   Charlie@pisaturolaw.com,
               RI10@ecfcbis.com;Jenn@pisaturolaw.necoxmail.com
              Eva M. Massimino   on behalf of Creditor   PNC Bank, National Association BKECF@bmpc-law.com
              Gary L. Donahue   ustpregion01.pr.ecf@usdoj.gov
              T. Michael Banks    on behalf of Joint Debtor Dolores V. Dicksen
               T.MichaelBanks@germanilawoffices.com, stephen@germanititle.com
              T. Michael Banks    on behalf of Debtor William B. Dicksen T.MichaelBanks@germanilawoffices.com,
               stephen@germanititle.com
                                                                                            TOTAL: 6
         Case 1:15-bk-11016              Doc 65 Filed 05/24/19 Entered 05/25/19 00:31:15                    Desc
                                       Imaged Certificate of Notice Page 2 of 2
                                            UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF RHODE ISLAND



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                                      **AMENDED** ORDER ALLOWING FINAL FEE COMPENSATION

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               The Federal Center Â 380 Westminster Street, 6th Floor Â Providence, RI 02903 Â Tel: (401) 626í3100

                                                   Website: www.rib.uscourts.gov
